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                                 UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF OHIO
                                         WESTERN DIVISION

  In re:                                          §    Case No. 1:13-BK-13960
                                                  §
  FRENCH MANOR PROPERTIES, LLC                    §
                                                  §
                                                  §
                      Debtor(s)                   §

           CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION REPORT
           CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                      AND APPLICATION TO BE DISCHARGED (TDR)

          George Leicht, chapter 7 trustee, submits this Final Account, Certification that the
  Estate has been Fully Administered and Application to be Discharged.

       1)       All funds on hand have been distributed in accordance with the Trustee’s Final
Report and, if applicable, any order of the Court modifying the Final Report. The case is fully
administered and all assets and funds which have come under the trustee’s control in this case
have been properly accounted for as provided by law. The trustee hereby requests to be
discharged from further duties as a trustee.

       2)      A summary of assets abandoned, assets exempt, total distributions to claimants,
claims discharged without payment, and expenses of administration is provided below:



Assets Abandoned:             $0.00                   Assets Exempt:        NA
(without deducting any secured claims)



Total Distributions to                                Claims Discharged
Claimants:                        $711,893.07         Without Payment:      NA

Total Expenses of
Administration:                   $206,734.84


        3)      Total gross receipts of $918,627.91 (see Exhibit 1), minus funds paid to the
debtor(s) and third parties of $0.00 (see Exhibit 2), yielded net receipts of $918,627.91 from the
liquidation of the property of the estate, which was distributed as follows:




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                                   CLAIMS           CLAIMS             CLAIMS               CLAIMS
                                 SCHEDULED         ASSERTED           ALLOWED                PAID
  Secured Claims
  (from Exhibit 3)                      $0.00              $0.00               $0.00               $0.00
  Priority Claims:
      Chapter 7
      Admin. Fees and                      NA       $206,734.84         $206,734.84         $206,734.84
      Charges
       (from Exhibit 4)
      Prior Chapter
      Admin. Fees and                      NA              $0.00               $0.00               $0.00
      Charges (from
      Exhibit 5)
      Priority
      Unsecured                         $0.00           $234.23              $234.23            $234.23
      Claims
      (From Exhibit 6)
  General Unsecured
  Claims (from                   $6,762,517.00     $7,989,316.71       $4,084,069.83        $711,658.84
  Exhibit 7)
           Total
     Disbursements               $6,762,517.00     $8,196,285.78       $4,291,038.90        $918,627.91

        4). This case was originally filed under chapter 7 on 08/21/2013. The case was pending
  for 96 months.

       5). All estate bank statements, deposit slips, and canceled checks have been submitted to
  the United States Trustee.

        6). An individual estate property record and report showing the final accounting of the
  assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for
  each estate bank account, showing the final accounting of the receipts and disbursements of
  estate funds is attached as Exhibit 9.

       Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
  foregoing report is true and correct.

         Dated: 08/05/2021                              By:    /s/ George Leicht
                                                        /Ge    Trustee
                                                        org
                                                        e
                                                        Lei
                                                        cht

  STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
  Act exemption 5 C.F.R. § 1320.4(a)(2) applies.



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                                                   EXHIBITS TO
                                                  FINAL ACCOUNT

 EXHIBIT 1 – GROSS RECEIPTS

                        DESCRIPTION                                     UNIFORM                          AMOUNT
                                                                       TRAN. CODE                       RECEIVED
unknown refund from US Bank                                               1229-000                            $68.45
Settlement of Fraudulent Transfer Rhodenbaugh                             1241-000                       $213,051.00
Settlement of Fraudulent Transfer with Baker                              1241-000                        $32,000.00
Global/Mark Cohen                                                         1241-000                        $80,000.00
JennTara/Williams                                                         1241-000                        $20,000.00
Settlement of Fraudulent Transfer-Scamehorn                               1241-000                        $19,500.00
Settlement of Fraudulent Transfer with 5/3 Bank                           1241-000                         $6,500.00
Settlement of Fraudulent Transfer with Debra Hall                         1241-000                         $2,800.00
Settlement of Fraudulent Transfer with Douglas and Lisa Jenkins           1241-000                        $13,900.00
Settlement of Fraudulent Transfer with Giglio                             1241-000                        $24,900.00
Settlement of Fraudulent Transfer with Henson                             1241-000                        $11,500.00
Settlement of Fraudulent Transfer with Joan Smiley                        1241-000                        $35,000.00
Settlement of Fraudulent Transfer with Kellerman                          1241-000                        $85,000.00
Settlement of Fraudulent Transfer with Maue                               1241-000                        $14,781.00
Settlement of Fraudulent Transfer with Miami Valley Christian             1241-000                        $22,500.00
Academy
Settlement of Fraudulent Transfer with Patterson, J. Bickley, K.          1241-000                       $144,980.00
Bickley (now White), Pfeiffenberger, Triathlon (proper
Settlement of Fraudulent Transfer with Phillips                           1241-000                        $10,000.00
Settlement of Fraudulent Transfer with Quinlan                            1241-000                         $9,944.80
Settlement of Fraudulent Transfer with Robson                             1241-000                        $44,000.00
Settlement of Fraudulent Transfer with Stambaugh                          1241-000                         $4,700.00
Settlement of Fraudulent Transfer with Steier                             1241-000                        $20,000.00
Settlement of Fraudulent Transfer with US Bank                            1241-000                        $38,502.66
Settlement of Fraudulent Transfer with Wayne Steve Smiley                 1241-000                        $10,000.00
Settlement of Fraudulent Transfer with Wood                               1241-000                        $55,000.00
TOTAL GROSS RECEIPTS                                                                                     $918,627.91

 The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.

 EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES
 NONE


 EXHIBIT 3 – SECURED CLAIMS
 NONE


 EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

       PAYEE                UNIFORM                  CLAIMS           CLAIMS            CLAIMS             CLAIMS

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                          TRAN. CODE        SCHEDULED      ASSERTED             ALLOWED                   PAID
George Leicht,               2100-000               NA          $49,181.40       $49,181.40           $49,181.40
Trustee
George Leicht, trustee,      2200-000               NA           $4,338.60           $4,338.60         $4,338.60
Trustee
Insurance Partners           2300-000               NA           $1,152.73           $1,152.73         $1,152.73
Agency, Inc.
Independent Bank             2600-000               NA           $2,627.49           $2,627.49         $2,627.49
Integrity Bank               2600-000               NA          $30,237.06       $30,237.06           $30,237.06
Clerk of United States       2700-000               NA           $8,050.00           $8,050.00         $8,050.00
Bankruptcy Court
George Leicht,               3110-000               NA          $68,874.00       $68,874.00           $68,874.00
Attorney for Trustee
Cohen, Todd, Kite and        3210-000               NA          $41,236.65       $41,236.65           $41,236.65
Stanford LLC,
Attorney for Trustee
Cohen, Todd, Kite and        3220-000               NA            $205.66             $205.66           $205.66
Stanford LLC,
Attorney for Trustee
Tibble and Wesler            3410-000               NA            $831.25             $831.25           $831.25
CPA, Accountant for
Trustee
TOTAL CHAPTER 7 ADMIN. FEES AND                     NA      $206,734.84         $206,734.84          $206,734.84
CHARGES


 EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES
 NONE


 EXHIBIT 6 – PRIORITY UNSECURED CLAIMS

 CLAIM           CLAIMANT           UNIFORM          CLAIMS           CLAIMS            CLAIMS         CLAIMS
NUMBER                             TRAN. CODE     SCHEDULED         ASSERTED          ALLOWED            PAID
     17       Ohio Department        5800-000            $0.00          $234.23           $234.23       $234.23
              of Job and Family
              Services
              Internal Revenue       5800-000            $0.00               $0.00           $0.00         $0.00
              Service Att.
TOTAL PRIORITY UNSECURED CLAIMS                          $0.00          $234.23           $234.23       $234.23


 EXHIBIT 7 – GENERAL UNSECURED CLAIMS

 CLAIM           CLAIMANT           UNIFORM        CLAIMS           CLAIMS             CLAIMS          CLAIMS
NUMBER                             TRAN. CODE   SCHEDULED         ASSERTED           ALLOWED             PAID
    1AB       John E. Gilbert        7100-000     $535,942.00     $535,942.00               $0.00          $0.00
     1        John E. Gilbert        7100-000     $535,942.00     $535,942.00        $375,695.00      $65,465.74
     2        Ed & Karen             7100-000      $40,900.00      $94,600.00          $94,600.00     $16,484.27
              Wichta
    2AB       Michael Fink           7100-000     $156,188.00     $156,188.00          $64,000.00     $11,152.16

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    3AB       M Bruce                7100-000           $0.00   $156,188.00    $64,000.00   $11,152.16
              VanDyke
     3        Wilmington             7100-000           $0.00      $967.05          $0.00        $0.00
              College
     4        Bruce R. Blum          7100-000     $469,758.00   $362,000.00   $228,950.00   $39,895.08
    4AB       Teresa                 7100-000     $389,000.00   $389,000.00         $0.00        $0.00
              Wellington
    5AB       American Express       7100-000           $0.00     $2,309.32         $0.00        $0.00
              Bank FSB
     5        Teresa                 7100-000     $389,000.00   $389,000.00   $188,898.00   $32,915.92
              Wellington
    6AB       American Express       7100-000           $0.00    $57,372.57         $0.00        $0.00
              Centurion Bank
     6        Lori Robson c/o        7100-000           $0.00    $78,000.00    $70,000.00   $12,042.43
              Charles Miller,
              Esq.
              Clerk, US              7100-001           $0.00         $0.00         $0.00     $155.24
              Bankruptcy Court
              (Claim No. 6;
              Lori Robson c/o
              Charles Miller,
              Esq.)
    7AB       American Express       7100-000           $0.00     $2,496.06         $0.00        $0.00
              Centurion Bank
     7        Robert J. Gilbert      7100-000     $493,000.00   $392,206.00   $297,930.00   $51,915.01
     8        American Express       7100-000           $0.00     $1,590.15     $1,590.15     $273.56
              Bank FSB
    8AB       Robert J. Gilbert      7100-000     $493,000.00   $392,206.00         $0.00        $0.00
              Clerk, US              7100-001           $0.00         $0.00         $0.00        $3.53
              Bankruptcy Court
              (Claim No. 8;
              American Express
              Bank FSB)
     9        Cindy A.               7100-000           $0.00   $283,140.00   $361,490.00   $62,990.49
              Swinney
    9AB       Joseph P and           7100-000     $103,000.00    $37,114.46    $29,500.00    $5,140.44
              Sandra Moreland
   10AB       Cindy A.               7100-000           $0.00   $202,207.00         $0.00        $0.00
              Swinney
     10       Dan                    7100-000     $211,250.00   $496,360.00   $376,518.00   $65,609.15
              Kunkemoeller
   11AB       Dan                    7100-000     $211,250.00   $496,360.00         $0.00        $0.00
              Kunkemoeller
     11       Lawrence (Larry)       7100-000           $0.00   $382,000.00   $257,161.00   $44,810.91
              Maglin
     12       Jason McCain           7100-000           $0.00         $0.00         $0.00        $0.00
    12A       Jason McCain           7100-000           $0.00    $50,270.00         $0.00        $0.00
   12AB       Lawrence (Larry)       7100-000           $0.00   $382,000.00         $0.00        $0.00
              Maglin
   13AB       Jason McCain           7100-000           $0.00         $0.00         $0.00        $0.00
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     13       Jason McCain           7100-000           $0.00    $50,270.00    $26,438.00     $4,606.88
     14       David Englehardt       7100-000           $0.00    $19,858.00    $14,555.00     $2,536.24
   14AB       Jason McCain           7100-000           $0.00    $50,270.00         $0.00         $0.00
     15       Gregory Gromek         7100-000      $52,775.00    $52,775.00    $18,969.00     $3,305.39
   15AB       Mitch Canon            7100-000           $0.00    $20,246.24         $0.00         $0.00
   16AB       Kimberly               7100-000           $0.00     $5,800.00         $0.00         $0.00
              Hamilton
     16       Stanley L. Blythe      7100-000     $985,000.00   $985,000.00   $789,860.00   $137,634.98
   17AB       Brett Bowman           7100-000           $0.00    $10,000.00    $10,000.00     $1,742.52
    17a       Ohio Department        7100-000           $0.00      $160.86       $160.86        $27.67
              of Job and Family
              Services
              Clerk, US              7100-001           $0.00         $0.00         $0.00         $0.36
              Bankruptcy Court
              (Claim No. 17a;
              Ohio Department
              of Job and Family
              Services)
     18       Gregory H.             7100-000           $0.00    $81,907.00    $81,907.00    $14,272.49
              Richards
     19       Shannon Ellis          7100-000           $0.00    $21,463.00    $21,463.00     $3,739.98
     20       Brian Blythe           7100-000     $512,000.00   $346,649.00   $346,649.00    $60,404.41
     21       Michael Blythe         7100-000           $0.00    $22,500.00    $19,776.82     $3,402.30
              Clerk, US              7100-001           $0.00         $0.00         $0.00       $43.86
              Bankruptcy Court
              (Claim No. 21;
              Michael Blythe)
     22       Sharmini Shanker       7100-000     $300,000.00   $290,100.00   $290,100.00    $50,550.61
     23       Joseph A. DuBois       7200-000     $103,000.00   $103,000.00         $0.00         $0.00
     24       Sharmini Shanker       7100-000     $300,000.00         $0.00         $0.00         $0.00
     25       Donald Keyes           7100-000           $0.00    $53,859.00    $53,859.00     $9,265.62
              Clerk, US              7100-001           $0.00         $0.00         $0.00      $119.44
              Bankruptcy Court
              (Claim No. 25;
              Donald Keyes)
              AT&T Wireless          7100-000           $0.00         $0.00         $0.00         $0.00
              Barbara Pugh           7100-000           $0.00         $0.00         $0.00         $0.00
              Brian McGinty          7100-000           $0.00         $0.00         $0.00         $0.00
              Bruce Stambaugh        7100-000       $3,250.00         $0.00         $0.00         $0.00
              Charles M.             7100-000           $0.00         $0.00         $0.00         $0.00
              Miller, Esq.
              Christina              7100-000           $0.00         $0.00         $0.00         $0.00
              Campbell
              David Joshua           7100-000           $0.00         $0.00         $0.00         $0.00
              David L. Hall          7100-000      $52,512.00         $0.00         $0.00         $0.00
              Debra Smith            7100-000      $85,000.00         $0.00         $0.00         $0.00
              DogZone, LLC           7100-000           $0.00         $0.00         $0.00         $0.00

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              Douglas Jenkins          7100-000           $0.00     $0.00       $0.00      $0.00
              Duane Bebout             7100-000           $0.00     $0.00       $0.00      $0.00
              Eric T. House            7100-000           $0.00     $0.00       $0.00      $0.00
              Gary and Martha          7100-000           $0.00     $0.00       $0.00      $0.00
              Steier
              Glen Rice                7100-000           $0.00     $0.00       $0.00      $0.00
              J. Stephen               7100-000           $0.00     $0.00       $0.00      $0.00
              Wirthlin, Jr., Esq.
              Jeffrey Meythaler        7100-000           $0.00     $0.00       $0.00      $0.00
              Jeremy R.                7100-000           $0.00     $0.00       $0.00      $0.00
              Starline
              Joan M. Smiley           7100-000           $0.00     $0.00       $0.00      $0.00
              John Robson              7100-000           $0.00     $0.00       $0.00      $0.00
              Jospeh J. Dehner,        7100-000           $0.00     $0.00       $0.00      $0.00
              Esq.
              Kevin Quinlan            7100-000           $0.00     $0.00       $0.00      $0.00
              Kristie Kellerman        7100-000           $0.00     $0.00       $0.00      $0.00
              Lynn Helquist            7100-000           $0.00     $0.00       $0.00      $0.00
              Mark Cohen               7100-000           $0.00     $0.00       $0.00      $0.00
              Mary Ray                 7100-000      $76,000.00     $0.00       $0.00      $0.00
              Melinda Giglio           7100-000           $0.00     $0.00       $0.00      $0.00
              Michael and              7100-000           $0.00     $0.00       $0.00      $0.00
              Jennifer Blythe
              Michael Johnson          7100-000           $0.00     $0.00       $0.00      $0.00
              Michael                  7100-000           $0.00     $0.00       $0.00      $0.00
              Kellerman
              Michael Osborne          7100-000           $0.00     $0.00       $0.00      $0.00
              Michelle Byers           7100-000           $0.00     $0.00       $0.00      $0.00
              Patrick J.               7100-000           $0.00     $0.00       $0.00      $0.00
              Newton, Esq.
              Patrick Maue             7100-000           $0.00     $0.00       $0.00      $0.00
              Penny Moore              7100-000           $0.00     $0.00       $0.00      $0.00
              Red Ignition,            7100-000           $0.00     $0.00       $0.00      $0.00
              LLC
              Robert Hopkins           7100-000           $0.00     $0.00       $0.00      $0.00
              Robert J.                7100-000           $0.00     $0.00       $0.00      $0.00
              Thumann
              Robert                   7100-000           $0.00     $0.00       $0.00      $0.00
              Zimmerman, Esq.
              Roger Williams           7100-000           $0.00     $0.00       $0.00      $0.00
              Sandra A.                7100-000      $40,000.00     $0.00       $0.00      $0.00
              Moreland
              Scott A. King,           7100-000           $0.00     $0.00       $0.00      $0.00
              Esq.
              Shawn E. Baker           7100-000           $0.00     $0.00       $0.00      $0.00


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              Stanley and Diane      7100-000           $0.00          $0.00          $0.00          $0.00
              Blythe
              Steve Koukles          7100-000           $0.00          $0.00          $0.00          $0.00
              Steve                  7100-000     $224,750.00          $0.00          $0.00          $0.00
              Kunkelmoeller
              Teresa Thomas          7100-000           $0.00          $0.00          $0.00          $0.00
              Theodore J.            7100-000           $0.00          $0.00          $0.00          $0.00
              Froncek
              Thomas A.              7100-000           $0.00          $0.00          $0.00          $0.00
              Rhodenbaugh
              Todd A. Phillips       7100-000           $0.00          $0.00          $0.00          $0.00
              Tryed Stone New        7100-000           $0.00          $0.00          $0.00          $0.00
              Beginning
              Church
              Valhalla               7100-000           $0.00          $0.00          $0.00          $0.00
              Investment
              Advisory, Inc.
              Wayne Smiley           7100-000           $0.00          $0.00          $0.00          $0.00
              Wells Fargo            7100-000           $0.00          $0.00          $0.00          $0.00
              Bank, NA
              William H. and         7100-000           $0.00          $0.00          $0.00          $0.00
              Carla R. Wood
TOTAL GENERAL UNSECURED CLAIMS                   $6,762,517.00 $7,989,316.71   $4,084,069.83   $711,658.84




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                                                                      INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                  Page No:    1              Exhibit 8
                                                                                       ASSET CASES

Case No.:                       13-13960                                                                                                  Trustee Name:                              George Leicht
Case Name:                      FRENCH MANOR PROPERTIES, LLC                                                                              Date Filed (f) or Converted (c):           08/21/2013 (f)
For the Period Ending:          8/5/2021                                                                                                  §341(a) Meeting Date:                      10/15/2013
                                                                                                                                          Claims Bar Date:                           05/12/2017

                                    1                                     2                     3                                 4                        5                                          6

                           Asset Description                            Petition/        Estimated Net Value                   Property               Sales/Funds              Asset Fully Administered (FA)/
                            (Scheduled and                            Unscheduled       (Value Determined by                   Abandoned              Received by              Gross Value of Remaining Assets
                       Unscheduled (u) Property)                         Value                 Trustee,                  OA =§ 554(a) abandon.         the Estate
                                                                                       Less Liens, Exemptions,
                                                                                          and Other Costs)

 Ref. #
1       real property                                                          $0.00                             $0.00                                          $0.00                                            FA
2        cash                                                                  $0.00                             $0.00                                          $0.00                                            FA
3        Chase Account ending 0150                                             $0.00                             $0.00                                          $0.00                                            FA
4        Fifth Third bank account                                              $0.00                             $0.00                                          $0.00                                            FA
5        US Bank Account ending 8253                                           $0.00                             $0.00                                          $0.00                                            FA
6        Security deposits with public utilities, telephone                    $0.00                             $0.00                                          $0.00                                            FA
         companies, landlords and other
7        Household goods and furnishings                                       $0.00                             $0.00                                          $0.00                                            FA
8        books, pictures, art objects                                          $0.00                             $0.00                                          $0.00                                            FA
9        waring apparel                                                        $0.00                             $0.00                                          $0.00                                            FA
10       furs and jewelry                                                      $0.00                             $0.00                                          $0.00                                            FA
11       firearms and sports, hobby equipment                                  $0.00                             $0.00                                          $0.00                                            FA
12       interests in insurance policies                                       $0.00                             $0.00                                          $0.00                                            FA
13       annuities                                                             $0.00                             $0.00                                          $0.00                                            FA
14       Interest in an education IRA                                          $0.00                             $0.00                                          $0.00                                            FA
15       Interest in IRA, ERISA, Keogh                                         $0.00                             $0.00                                          $0.00                                            FA
16       Stock and interests in incorporated and                               $0.00                             $0.00                                          $0.00                                            FA
         unincorporated businesses
17       Dogzone, LLC (ownership percentage believed                           $0.00                             $0.00                                          $0.00                                            FA
         to be 51% based on Dogzone tax returns)
18       MeyCraft, LLC                                                         $0.00                             $0.00                                          $0.00                                            FA
Asset Notes:         trustee finished investigating asset, no value
19       CoCraft, LLC                                                          $0.00                             $0.00                                          $0.00                                            FA
Asset Notes:         Case was dismissed.
20       The 6 Degree Group                                                    $0.00                             $0.00                                          $0.00                                            FA
21       French Manor Properties of DFW, LLC                                   $0.00                             $0.00                                          $0.00                                            FA
22       interests in partnerships and joint ventures                          $0.00                             $0.00                                          $0.00                                            FA
23       Government and corporate bonds and other                              $0.00                             $0.00                                          $0.00                                            FA
         negotiable and nonnegotiable instruments
24       Accounts receivable                                                   $0.00                             $0.00                                          $0.00                                            FA
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                                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                  Page No:    2              Exhibit 8
                                                                               ASSET CASES

Case No.:                     13-13960                                                                                            Trustee Name:                              George Leicht
Case Name:                    FRENCH MANOR PROPERTIES, LLC                                                                        Date Filed (f) or Converted (c):           08/21/2013 (f)
For the Period Ending:        8/5/2021                                                                                            §341(a) Meeting Date:                      10/15/2013
                                                                                                                                  Claims Bar Date:                           05/12/2017

                                   1                              2                     3                                 4                        5                                          6

                         Asset Description                      Petition/        Estimated Net Value                   Property               Sales/Funds              Asset Fully Administered (FA)/
                          (Scheduled and                      Unscheduled       (Value Determined by                   Abandoned              Received by              Gross Value of Remaining Assets
                     Unscheduled (u) Property)                   Value                 Trustee,                  OA =§ 554(a) abandon.         the Estate
                                                                               Less Liens, Exemptions,
                                                                                  and Other Costs)

25      Alimony, maintenance, support and property                     $0.00                             $0.00                                          $0.00                                            FA
        settlements to which the debtor is or may be
        entitled.
26      Other liquidated debts owed to the debtor                      $0.00                             $0.00                                          $0.00                                            FA
        including tax refunds
27      Equitable or future interests, life estates, and               $0.00                             $0.00                                          $0.00                                            FA
        rights or powers exercisable for the benefit of the
        debtor other than those listed in Schedule A-Real
        Property
28      Contingent and noncontingent interests in estate               $0.00                             $0.00                                          $0.00                                            FA
        of a decedent, death benefit plan, life insurance
        policy, or trust
29      Other contingent and unliquidated claims of                    $0.00                             $0.00                                          $0.00                                            FA
        every nature, including tax refunds,
        counterclaims of the debtor and rights to setoff
        claims
30      Patents, copyrights and other intellectual                     $0.00                             $0.00                                          $0.00                                            FA
        property
31      Licenses, franchises and other general intangibles             $0.00                             $0.00                                          $0.00                                            FA
32      Customer lists and other compilations                          $0.00                             $0.00                                          $0.00                                            FA
33      Automobiles, trucks, trailers                                  $0.00                             $0.00                                          $0.00                                            FA
34      boats, motors and accessories                                  $0.00                             $0.00                                          $0.00                                            FA
35      aircraft and accessories                                       $0.00                             $0.00                                          $0.00                                            FA
36      Office equipment, furnishing and supplies                      $0.00                             $0.00                                          $0.00                                            FA
37      Machinery, fixtures, equipment and supplies                    $0.00                             $0.00                                          $0.00                                            FA
        used in business
38      Inventrory                                                     $0.00                             $0.00                                          $0.00                                            FA
39      animals                                                        $0.00                             $0.00                                          $0.00                                            FA
40      crops, growing or harvested                                    $0.00                             $0.00                                          $0.00                                            FA
41      Farming equipment and implements                               $0.00                             $0.00                                          $0.00                                            FA
42      Farm supplies, chemicals and feed                              $0.00                             $0.00                                          $0.00                                            FA
43      Other personal property not listed                             $0.00                             $0.00                                          $0.00                                            FA
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                                                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                             Page No:    3              Exhibit 8
                                                                                                          ASSET CASES

Case No.:                      13-13960                                                                                                                     Trustee Name:                              George Leicht
Case Name:                     FRENCH MANOR PROPERTIES, LLC                                                                                                 Date Filed (f) or Converted (c):           08/21/2013 (f)
For the Period Ending:         8/5/2021                                                                                                                     §341(a) Meeting Date:                      10/15/2013
                                                                                                                                                            Claims Bar Date:                           05/12/2017

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                        Asset Description                                       Petition/                  Estimated Net Value                   Property               Sales/Funds              Asset Fully Administered (FA)/
                         (Scheduled and                                       Unscheduled                 (Value Determined by                   Abandoned              Received by              Gross Value of Remaining Assets
                    Unscheduled (u) Property)                                    Value                           Trustee,                  OA =§ 554(a) abandon.         the Estate
                                                                                                         Less Liens, Exemptions,
                                                                                                            and Other Costs)

44     Any and all property seized by the government                                     $0.00                                     $0.00                                          $0.00                                            FA
       investigation of Debtor including 6 season tickets
       for the Cincinnati Reds
Asset Notes:      Liquidated by DOJ--no value to the estate
45      Settlement of Fraudulent Transfer with Quinlan              (u)                  $0.00                              $9,944.80                                        $9,944.80                                             FA
Asset Notes:      Settlement of Adversary Case No. 15-01051
46     Settlement of Fraudulent Transfer with Debra                 (u)                  $0.00                              $2,800.00                                        $2,800.00                                             FA
       Hall
Asset Notes:    Settlment of Adversary Case No. 15-0006
47      Settlement of Fraudulent Transfer with Steier               (u)                  $0.00                             $20,000.00                                       $20,000.00                                             FA
Asset Notes:      Settlement of Adversary Case 15-01055
48     Settlement of Fraudulent Transfer with                       (u)                  $0.00                              $4,700.00                                        $4,700.00                                             FA
       Stambaugh
Asset Notes:    Settlement of Adversary Case 15-01055
49      Settlement of Fraudulent Transfer with Giglio               (u)                  $0.00                             $24,900.00                                       $24,900.00                                             FA
Asset Notes:      Settlement of Adversary Case 15-0005
50     Settlement of Fraudulent Transfer                            (u)                  $0.00                            $213,051.00                                      $213,051.00                                             FA
       Rhodenbaugh
Asset Notes:    Settlement of Adversary Case 15-00012
51      Settlement of Fraudulent Transfer with Phillips             (u)                  $0.00                             $10,000.00                                       $10,000.00                                             FA
Asset Notes:      Settlement with Phillips. Settlement of Adversary Case 15-01050
52      Settlement of Fraudulent Transfer with Wood                 (u)                  $0.00                             $55,000.00                                       $55,000.00                                             FA
Asset Notes:      Settlement of Adversary Case 15-00011
53      Settlement of Fraudulent Transfer with Maue                 (u)                  $0.00                             $14,781.00                                       $14,781.00                                             FA
Asset Notes:      Settlement with Maue
54      Settlement of Fraudulent Transfer with Wayne                (u)                  $0.00                             $10,000.00                                       $10,000.00                                             FA
        Steve Smiley
55      Settlement of Fraudulent Transfer with Henson               (u)                  $0.00                             $11,500.00                                       $11,500.00                                             FA
Asset Notes:      Settlement of Adversary Case 15-01065
56      Fraudulent Transfers                                        (u)                  $0.00                                     $0.00                                          $0.00                                            FA
Asset Notes:      Trustee pursuing several fraudulent transfers. At this time, values are subject to possible defenses.
                                           Case 1:13-bk-13960                  Doc 471  FiledFORM
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                                                                         INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                         Page No:    4              Exhibit 8
                                                                                                   ASSET CASES

Case No.:                   13-13960                                                                                                                Trustee Name:                              George Leicht
Case Name:                  FRENCH MANOR PROPERTIES, LLC                                                                                            Date Filed (f) or Converted (c):           08/21/2013 (f)
For the Period Ending:      8/5/2021                                                                                                                §341(a) Meeting Date:                      10/15/2013
                                                                                                                                                    Claims Bar Date:                           05/12/2017

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                        Asset Description                                   Petition/                Estimated Net Value                 Property               Sales/Funds              Asset Fully Administered (FA)/
                         (Scheduled and                                   Unscheduled               (Value Determined by                 Abandoned              Received by              Gross Value of Remaining Assets
                    Unscheduled (u) Property)                                Value                         Trustee,                OA =§ 554(a) abandon.         the Estate
                                                                                                   Less Liens, Exemptions,
                                                                                                      and Other Costs)

57     Settlement of Fraudulent Transfer with                    (u)                $0.00                            $85,000.00                                     $85,000.00                                             FA
       Kellerman
Asset Notes:    Settlement of Adversary Case 15-0007
58      Settlement of Fraudulent Transfer with US Bank           (u)                $0.00                            $38,502.66                                     $38,502.66                                             FA
Asset Notes:      Settlement of Adversary Case 15-01053
59      unknown refund from US Bank                              (u)                $0.00                                $68.45                                           $68.45                                           FA
60      Settlement of Fraudulent Transfer with Robson            (u)                $0.00                            $44,000.00                                     $44,000.00                                             FA
Asset Notes:      Settlement of Adversary Case 15-01052
61     Settlement of Fraudulent Transfer with Joan               (u)                $0.00                            $35,000.00                                     $35,000.00                                             FA
       Smiley
Asset Notes:    Settlement of Adversary Case 15-01053
62      Settlement of Fraudulent Transfer with Baker             (u)                $0.00                            $32,000.00                                     $32,000.00                                             FA
Asset Notes:      Settlement of Adversary Case 15-0002
63      Settlement of Fraudulent Transfer with 5/3 Bank          (u)                $0.00                             $6,500.00                                      $6,500.00                                             FA
64      Settlement of Fraudulent Transfer-Scamehorn              (u)                $0.00                            $19,500.00                                     $19,500.00                                             FA
65     Settlement of Fraudulent Transfer with Miami              (u)                $0.00                            $22,500.00                                     $22,500.00                                             FA
       Valley Christian Academy
Asset Notes:     4 payments received for Fraudulent Transfer
66     Settlement of Fraudulent Transfer with                     (u)                $0.00                           $144,980.00                                   $144,980.00                                             FA
       Patterson, J. Bickley, K. Bickley (now White),
       Pfeiffenberger, Triathlon (properties and
       acquisitions)
Asset Notes:     $111,151.00 will be received in cash plus a mortgage (time payment of $33,829.00) before 10/31/2018
67     Settlement of Fraudulent Transfer with Douglas            (u)                $0.00                            $13,900.00                                     $13,900.00                                             FA
       and Lisa Jenkins
Asset Notes:     FMP vs. Jenkins, Adversary Case 15-01062
68      Global/Mark Cohen                                        (u)                $0.00                            $80,000.00                                     $80,000.00                                             FA
Asset Notes:      Transferee will make payments over one year.
69      JennTara/Williams                                        (u)                $0.00                            $20,000.00                                     $20,000.00                                             FA
Asset Notes:      Negotiation on settlement ongoing.
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                                                                            INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                            Page No:    5              Exhibit 8
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Case No.:                   13-13960                                                                                                                      Trustee Name:                               George Leicht
Case Name:                  FRENCH MANOR PROPERTIES, LLC                                                                                                  Date Filed (f) or Converted (c):            08/21/2013 (f)
For the Period Ending:      8/5/2021                                                                                                                      §341(a) Meeting Date:                       10/15/2013
                                                                                                                                                          Claims Bar Date:                            05/12/2017

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                       Asset Description                                       Petition/              Estimated Net Value                    Property                 Sales/Funds              Asset Fully Administered (FA)/
                        (Scheduled and                                       Unscheduled             (Value Determined by                    Abandoned                Received by              Gross Value of Remaining Assets
                   Unscheduled (u) Property)                                    Value                       Trustee,                   OA =§ 554(a) abandon.           the Estate
                                                                                                    Less Liens, Exemptions,
                                                                                                       and Other Costs)

TOTALS (Excluding unknown value)                                                                                                                                                                    Gross Value of Remaining Assets
                                                                                         $0.00                       $918,627.91                                          $918,627.91                                       $0.00




    Major Activities affecting case closing:
     12/21/2020     All funds recovered. Final distribution the first quarter of 2021.
     11/15/2019     Two remaining adversary actions under 548.
                    Cohen 15-01060 has been settled and forwarded settlement agreement to Wm. Fecher for approval NOTE agreement will require montlhly payments to Dec 2020. Williams 15-01062
                    presently in discussions with Sam Gilly (William's new attorney) regarding settlement.
     12/31/2018     re: Schedule B explained (unknown values)
                    French Manor Properties LLC (FMP) was filed as an involuntary case on Aug 21, 2013 The creditors who filed the case had no knowledge of any of FMP’s assets and did not file
                    schedules.


                    After a short investigation it was determined that FMP was a Ponzi scheme. The sole member of FMP was Brenda Ashcraft who refused to cooperate and provide information. After
                    filing subpoenas for the known FMP bank accounts (based upon checks received by the Ponzi victims) I determined that FMP had no physical or hard assets.


                    The bank accounts had no funds or were closed pre-petition. DogZone had no value (it went bankrupt), MayCraft, CoCraft, 6 Degree and FMP of DFW had no value. After the dust
                    settled I determined that FMP had no other assets as it was a true Ponzi scheme. I filed an initial report in schedule A and B showing unknown values and later changing my estimate to
                    $0 . I though CoCraft might be a vehicle for recovery of funds based upon joint and several liability (the LLC was created by Ashcraft and Mark Cohen), however, that proved to be a
                    dead end.. There is a pending adversary case against Mr. Cohen which is currently valued at $50K
     11/06/2018     Filed Motion for Partial Summary Judgement to have FMP declared a Ponzi scheme under Misc. Proceeding 18-0101 against Cohen/Global and Williams/Jenntara
     12/20/2017     All but three of 544 and 548 actions are settled. Continuing Discovery on 15-01063 and 15-01059. Now attempting to resolve remaining Proofs of Claim.
     11/27/2017     Motion for 2004 JP Morgan/Chase
     11/29/2016     Order Setting Status Conference (RE: related document(s)1 Complaint filed by Plaintiff George Leicht). Status hearing to be held on 1/18/2017 at 02:30 PM Judge Buchanan Courtroom 1
                    for 1, (1nb) (Entered: 11/29/2016)
     11/28/2016     Tolling Agreements , extending the deadline for Patricia Fugee's clients, 60 days.
     12/31/2015     Trustee pursuing approximately 20 fraudulent transfers. At this time, values are unknown because of potential defenses. NOTE - proceeds of individual recoveries of fraudulent
                    transfers has been redacted pursuant to Order of the Court on Sept 11, 2015 (Doc No. 259) to facilitate settlement of the remaining adversary actions
     11/30/2015     report to court 13 cases settled, one dismissed. two pending settlements. 11 cases will be up with tolling agreements within 60 days. Commenced negotiations with tolled cases
     08/31/2015     Filed 31 tolling agreements and adversary complaints for recovery of funds
     07/23/2015     Continue 2004 exams, drafting adversary complaints and tolling agreements
     05/29/2015     File 2004 exams to verify "net winners" in Ponzi to prepare for adversary filings (25 motions)
     02/18/2015     Continue to trace funds from 5/3 Bank, Chase and US Bank to find potential "net winners" in Ponzi, Release of Bond from second involintary
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                                                                         INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                               Page No:    6               Exhibit 8
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Case No.:                  13-13960                                                                                                                       Trustee Name:                                George Leicht
Case Name:                 FRENCH MANOR PROPERTIES, LLC                                                                                                   Date Filed (f) or Converted (c):             08/21/2013 (f)
For the Period Ending:     8/5/2021                                                                                                                       §341(a) Meeting Date:                        10/15/2013
                                                                                                                                                          Claims Bar Date:                             05/12/2017

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                       Asset Description                                    Petition/                 Estimated Net Value                    Property                 Sales/Funds              Asset Fully Administered (FA)/
                        (Scheduled and                                    Unscheduled                (Value Determined by                    Abandoned                Received by              Gross Value of Remaining Assets
                   Unscheduled (u) Property)                                 Value                          Trustee,                   OA =§ 554(a) abandon.           the Estate
                                                                                                    Less Liens, Exemptions,
                                                                                                       and Other Costs)

     11/21/2014     Continue to trace funds via 5/3 and Chase FMP accounts - continued discussion with atty for some investors regarding abandonment of three FMP properties transferred prior to
                    bankruptcy filing.
     07/16/2014     Possible source of funds - abandonment of three FMP properties that were transferred outside 90 day preference period - but have now gone to foreclosure.
     06/30/2014     Reviewing 5/3 banks account statments - 2010 to filing date -continue to trace investor funds
     03/20/2014     Attempting to reconstruct records of FMP - subpoenas issued for AmExp, AT&T, 5/3 Bank, Chase Bank, US Bank, Chas Schwab, Equity Trust Co, Warsaw Fed.
     12/31/2013     All values are unknown at this time. This is an involuntary case. The debtor refuses to cooperate and has provided no information to the Trustee. The above information has been
                    obtained from subpoenaed bank records. Principal member of the debtor has been indicted in Federal Court SD Ohio.


Initial Projected Date Of Final Report (TFR):         12/31/2018                           Current Projected Date Of Final Report (TFR):             06/30/2021                /s/ GEORGE LEICHT
                                                                                                                                                                               GEORGE LEICHT
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                                                                         CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          13-13960                                                                                   Trustee Name:                         George Leicht
 Case Name:                        FRENCH MANOR PROPERTIES, LLC                                                               Bank Name:                            Independent Bank
Primary Taxpayer ID #:             **-***9759                                                                                 Checking Acct #:                      ******3960
Co-Debtor Taxpayer ID #:                                                                                                      Account Title:
For Period Beginning:              8/21/2013                                                                                  Blanket bond (per case limit):        $2,000,000.00
For Period Ending:                 8/5/2021                                                                                   Separate bond (if applicable):

       1                2                                  3                                             4                                           5                    6                       7

   Transaction       Check /                           Paid to/                 Description of Transaction                     Uniform            Deposit         Disbursement                 Balance
      Date            Ref. #                        Received From                                                             Tran Code             $                  $


09/29/2015            (45)     Kevin Quinlan                             Settlement of Fraudulent Transfer with Quinlan        1241-000            $9,944.80                                          $9,944.80
09/29/2015            (46)     Debra Hall                                Settlement of Fraudulent Transfer with Debra Hall     1241-000            $2,800.00                                      $12,744.80
09/29/2015            (47)     Gary Steier                               Settlement of Fraudulent Transfer with Gary Steier    1241-000           $20,000.00                                      $32,744.80
10/08/2015            (48)     Bruce Stambaugh                           Settlement of Fraudulent Transfer with Stambaugh      1241-000            $4,700.00                                      $37,444.80
10/08/2015            (49)     David and Mindy Giglio                    Settlement of Fraudulent Transfer with Giglio         1241-000           $24,900.00                                      $62,344.80
10/13/2015            (50)     Tom and Mia Rhodenbaugh                   Settlement of Fraudulent with Transfer Rhodenbaugh    1241-000          $213,051.00                                     $275,395.80
10/20/2015            (51)     Todd A. and Stephanie M. Phillips         Settlement of Fraudulent Transfer with Phillips       1241-000           $10,000.00                                     $285,395.80
10/31/2015                     Integrity Bank                            Bank Service Fee                                      2600-000                                        $276.24           $285,119.56
11/05/2015            (52)     Wood -Fifth Third Bank, Kentucky          Settlement of Fraudulent Transfer with Wood           1241-000           $55,000.00                                     $340,119.56
11/09/2015            (53)     Patrick Maue or Gail Maue                 Settlement on Fradulent Transfer with Maue            1241-000           $14,781.00                                     $354,900.56
11/16/2015            (54)     Wayne Steve Smiley                        Settlement on Fradulent Transfer with Wayne Steve     1241-000           $10,000.00                                     $364,900.56
                                                                         Smiley
11/17/2015            (55)     Stephen W. Henson                         Settlement of Fraudulent Transfer with Henson         1241-000           $11,500.00                                     $376,400.56
11/30/2015                     Integrity Bank                            Bank Service Fee                                      2600-000                                        $546.26           $375,854.30
12/17/2015           3001      Insurance Partners Agency, Inc.           Bond Payment                                          2300-000                                        $291.59           $375,562.71
12/31/2015                     Integrity Bank                            Bank Service Fee                                      2600-000                                        $606.08           $374,956.63
01/31/2016                     Integrity Bank                            Bank Service Fee                                      2600-000                                        $604.78           $374,351.85
02/08/2016            (57)     Christie L and Michael R. Kellerman       settlement of fraudulent transfer Kellerman           1241-000           $85,000.00                                     $459,351.85
02/26/2016            (58)     US Bank                                   Settlement of Fraudulent Transfer with US Bank        1241-000           $38,502.66                                     $497,854.51
02/29/2016                     Integrity Bank                            Bank Service Fee                                      2600-000                                        $659.72           $497,194.79
03/15/2016            (59)     US Bank                                   Unknown refund from US Bank                           1229-000              $68.45                                      $497,263.24
03/21/2016            (60)     Michelle H. Byers                         Fraudulent transfer on Robson (Byers)                 1241-000           $44,000.00                                     $541,263.24
03/31/2016                     Integrity Bank                            Bank Service Fee                                      2600-000                                        $822.60           $540,440.64
04/07/2016           3002      Clerk of United States Bankruptcy Court   Adversary Case Fees                                   2700-000                                        $350.00           $540,090.64
04/07/2016           3003      Clerk of United States Bankruptcy Court   Adversary Case Fees                                   2700-000                                        $350.00           $539,740.64
04/07/2016           3004      Clerk of United States Bankruptcy Court   Adversary Case Fees                                   2700-000                                        $350.00           $539,390.64
04/07/2016           3005      Clerk of United States Bankruptcy Court   Adversary Case Fees                                   2700-000                                        $350.00           $539,040.64


                                                                                                                              SUBTOTALS          $544,247.91                  $5,207.27
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                                                                         CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          13-13960                                                                            Trustee Name:                        George Leicht
 Case Name:                        FRENCH MANOR PROPERTIES, LLC                                                        Bank Name:                           Independent Bank
Primary Taxpayer ID #:             **-***9759                                                                          Checking Acct #:                     ******3960
Co-Debtor Taxpayer ID #:                                                                                               Account Title:
For Period Beginning:              8/21/2013                                                                           Blanket bond (per case limit):       $2,000,000.00
For Period Ending:                 8/5/2021                                                                            Separate bond (if applicable):

       1                2                                 3                                                 4                                5                    6                     7

   Transaction       Check /                          Paid to/                  Description of Transaction              Uniform           Deposit         Disbursement               Balance
      Date            Ref. #                       Received From                                                       Tran Code            $                  $


04/07/2016           3006      Clerk of United States Bankruptcy Court   Adversary Case Fees                           2700-000                                       $350.00          $538,690.64
04/07/2016           3007      Clerk of United States Bankruptcy Court   Adversary Case Fees                           2700-000                                       $350.00          $538,340.64
04/07/2016           3008      Clerk of United States Bankruptcy Court   Adversary Case Fees                           2700-000                                       $350.00          $537,990.64
04/07/2016           3009      Clerk of United States Bankruptcy Court   Adversary Case Fees                           2700-000                                       $350.00          $537,640.64
04/07/2016           3010      Clerk of United States Bankruptcy Court   Adversary Case Fees                           2700-000                                       $350.00          $537,290.64
04/07/2016            3011     Clerk of United States Bankruptcy Court   Adversary Case Fees                           2700-000                                       $350.00          $536,940.64
04/07/2016           3012      Clerk of United States Bankruptcy Court   Adversary Case Fees                           2700-000                                       $350.00          $536,590.64
04/07/2016           3013      Clerk of United States Bankruptcy Court   Adversary Case Fees                           2700-000                                       $350.00          $536,240.64
04/07/2016           3014      Clerk of United States Bankruptcy Court   Adversary Case Fees                           2700-000                                       $350.00          $535,890.64
04/07/2016           3015      Clerk of United States Bankruptcy Court   Adversary Case Fees                           2700-000                                       $350.00          $535,540.64
04/07/2016           3016      Clerk of United States Bankruptcy Court   Adversary Case Fees                           2700-000                                       $350.00          $535,190.64
04/07/2016           3017      Clerk of United States Bankruptcy Court   Adversary Case Fees                           2700-000                                       $350.00          $534,840.64
04/07/2016           3018      Clerk of United States Bankruptcy Court   Adversary Case Fees                           2700-000                                       $350.00          $534,490.64
04/07/2016           3019      Clerk of United States Bankruptcy Court   Adversary Case Fees                           2700-000                                       $350.00          $534,140.64
04/07/2016           3020      Clerk of United States Bankruptcy Court   Adversary Case Fees                           2700-000                                       $350.00          $533,790.64
04/07/2016           3021      Clerk of United States Bankruptcy Court   Adversary Case Fees                           2700-000                                       $350.00          $533,440.64
04/07/2016           3022      Clerk of United States Bankruptcy Court   Adversary Case Fees                           2700-000                                       $350.00          $533,090.64
04/07/2016           3023      Clerk of United States Bankruptcy Court   Adversary Case Fees                           2700-000                                       $350.00          $532,740.64
04/07/2016           3024      Clerk of United States Bankruptcy Court   Adversary Case Fees                           2700-000                                       $350.00          $532,390.64
04/30/2016                     Integrity Bank                            Bank Service Fee                              2600-000                                       $836.04          $531,554.60
05/24/2016            (61)     Joan M. Smiley                            Settlement of Fraudulent Transfer             1241-000           $35,000.00                                   $566,554.60
05/31/2016                     Integrity Bank                            Bank Service Fee                              2600-000                                       $870.11          $565,684.49
06/16/2016            (62)     Shawn Baker                               return of Fraudulent Transfer                 1241-000           $32,000.00                                   $597,684.49
06/30/2016                     Integrity Bank                            Bank Service Fee                              2600-000                                       $906.29          $596,778.20
07/25/2016            (63)     Fifth Third Bank                          Settlement of Fraudulent Transfers            1241-000            $6,500.00                                   $603,278.20
07/31/2016                     Integrity Bank                            Bank Service Fee                              2600-000                                       $964.59          $602,313.61
08/08/2016            (64)     William D. Scamehorn                      Settlement of Fraudlent Transfer              1241-000           $19,500.00                                   $621,813.61


                                                                                                                      SUBTOTALS           $93,000.00              $10,227.03
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                                                                        CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                           13-13960                                                                                       Trustee Name:                        George Leicht
 Case Name:                         FRENCH MANOR PROPERTIES, LLC                                                                   Bank Name:                           Independent Bank
 Primary Taxpayer ID #:             **-***9759                                                                                     Checking Acct #:                     ******3960
 Co-Debtor Taxpayer ID #:                                                                                                          Account Title:
 For Period Beginning:              8/21/2013                                                                                      Blanket bond (per case limit):       $2,000,000.00
 For Period Ending:                 8/5/2021                                                                                       Separate bond (if applicable):

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   Transaction        Check /                              Paid to/            Description of Transaction                           Uniform           Deposit         Disbursement               Balance
      Date             Ref. #                           Received From                                                              Tran Code            $                  $


08/31/2016                      Integrity Bank                          Bank Service Fee                                            2600-000                                      $994.82          $620,818.79
09/30/2016                      Integrity Bank                          Bank Service Fee                                            2600-000                                      $969.04          $619,849.75
10/31/2016                      Integrity Bank                          Bank Service Fee                                            2600-000                                      $999.77          $618,849.98
11/11/2016            3025      Insurance Partners Agency, Inc.         Bond Term: 11/01/2016 - 11/01/2017                          2300-000                                      $144.15          $618,705.83
11/30/2016                      Integrity Bank                          Bank Service Fee                                            2600-000                                      $965.85          $617,739.98
12/31/2016                      Integrity Bank                          Bank Service Fee                                            2600-000                                      $996.37          $616,743.61
01/06/2017            3026      Cohen, Todd, Kite and Stanford LLC      Per Doc. No. 312                                            3210-000                                  $41,236.65           $575,506.96
01/06/2017            3027      Cohen, Todd, Kite and Stanford LLC      Per Doc. No. 312                                            3220-000                                      $205.66          $575,301.30
01/31/2017                      Integrity Bank                          Bank Service Fee                                            2600-000                                      $947.33          $574,353.97
02/28/2017                      Integrity Bank                          Bank Service Fee                                            2600-000                                      $836.74          $573,517.23
03/31/2017                      Integrity Bank                          Bank Service Fee                                            2600-000                                      $925.05          $572,592.18
04/30/2017                      Integrity Bank                          Bank Service Fee                                            2600-000                                      $893.76          $571,698.42
05/31/2017                      Integrity Bank                          Bank Service Fee                                            2600-000                                      $849.28          $570,849.14
06/30/2017                      Integrity Bank                          Bank Service Fee                                            2600-000                                      $820.66          $570,028.48
07/31/2017                      Integrity Bank                          Bank Service Fee                                            2600-000                                      $846.80          $569,181.68
08/31/2017                      Integrity Bank                          Bank Service Fee                                            2600-000                                      $845.54          $568,336.14
09/14/2017             (65)     Miami Valley Christian Academy          Fradulent Transfer, partial payment                         1241-000           $5,625.00                                   $573,961.14
09/30/2017                      Integrity Bank                          Bank Service Fee                                            2600-000                                      $821.36          $573,139.78
10/03/2017             (66)     FisherBroyles LLP                       FMP v Patterson (Gang of Five) Settlement in Full           1241-000          $76,405.00                                   $649,544.78
                                                                        (Patterson)
10/03/2017             (66)     Midland Trust                           FMP v Rodger Pfeiffenberger (gang of five) settlement in    1241-000           $2,896.00                                   $652,440.78
                                                                        full
10/03/2017             (66)     Triathlon Acquisitons                   1 check (White) Citibank $1016.15                           1241-000           $4,259.15                                   $656,699.93
                                                                        1 check (Joseph Bickley) Equity Trust $3243.10
10/03/2017             (66)     Triathlon Properties                    Catfish 1702 Pfeiffenberger $3,262.25                       1241-000          $10,186.75                                   $666,886.68
                                                                        Citibank 32028284 White $3,462.25
                                                                        Equity Trust 557611 Bickley $3462.25
10/04/2017             (66)     Triathlon Acquisitions                  Triathlon Acquisitions-Jane Pfeiffenberger                  1241-000           $4,259.25                                   $671,145.93

                                                                                                                                   SUBTOTALS          $103,631.15             $54,298.83
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                                                                       CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          13-13960                                                                                      Trustee Name:                        George Leicht
 Case Name:                        FRENCH MANOR PROPERTIES, LLC                                                                  Bank Name:                           Independent Bank
Primary Taxpayer ID #:             **-***9759                                                                                    Checking Acct #:                     ******3960
Co-Debtor Taxpayer ID #:                                                                                                         Account Title:
For Period Beginning:              8/21/2013                                                                                     Blanket bond (per case limit):       $2,000,000.00
For Period Ending:                 8/5/2021                                                                                      Separate bond (if applicable):

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   Transaction       Check /                              Paid to/             Description of Transaction                         Uniform           Deposit         Disbursement                 Balance
      Date            Ref. #                           Received From                                                             Tran Code            $                  $


10/04/2017            (66)     Triathlon Acquisitions                  Triathalon Acquisitions-Rodger Pffeiffenberger             1241-000           $4,259.25                                     $675,405.18
10/04/2017            (66)     Triathlon Properties                    Triathlon Properties for Rodger Pfeiffenberger             1241-000           $3,462.25                                     $678,867.43
10/09/2017            (66)     Joseph Bickley                          FMP v Joe Bickley (gang of five) settlement in full per    1241-000          $14,813.00                                     $693,680.43
                                                                       agreement
10/10/2017            (66)     Triathlon Acquisitons                   1 check (White) Citibank $1016.15                          1241-000                 $0.10                                   $693,680.53
                                                                       1 check (Joseph Bickley) Equity Trust $3243.10


                                                                       $.10 deposit correction for deposit made on 10/3/2017
10/12/2017            (66)     Triathalon Acquisitions                 Fradulent Transfer for Triathalon Acquistions-Joseph       1241-000           $1,016.15                                     $694,696.68
                                                                       Bickley
10/13/2017            (65)     Miami Valley Christian Academy          Fradulent Transfer-partial payment of Miami Valley         1241-000           $5,625.00                                     $700,321.68
                                                                       Christain Academy
10/19/2017            (66)     Triathlon Properties                    Fradulent transfer payment                                 1241-000            $200.00                                      $700,521.68
10/30/2017            (66)     Triathlon Acquistions                   fradulent transfer                                         1241-000           $3,243.10                                     $703,764.78
10/31/2017                     Integrity Bank                          Bank Service Fee                                           2600-000                                      $1,008.06          $702,756.72
11/10/2017            (65)     Maima Valley Christian Academy          partial payment Fradulent transfer                         1241-000           $5,625.00                                     $708,381.72
11/20/2017            (66)     Triathlon Acquisitions, LLC             fraudulent transfer                                        1241-000           $1,300.00                                     $709,681.72
11/30/2017                     Integrity Bank                          Bank Service Fee                                           2600-000                                      $1,015.77          $708,665.95
12/05/2017           3028      Insurance Partners Agency, Inc.         Chapter 7 Blanket Bond                                     2300-000                                       $198.61           $708,467.34
12/07/2017            (65)     Miami Valley Christian Academy          payment fraudulent transfer                                1241-000           $5,625.00                                     $714,092.34
12/27/2017            (66)     Triathlon Acquisitions                  fraudulent transfer                                        1241-000           $1,700.00                                     $715,792.34
12/31/2017                     Integrity Bank                          Bank Service Fee                                           2600-000                                      $1,059.32          $714,733.02
01/31/2018                     Integrity Bank                          Bank Service Fee                                           2600-000                                      $1,061.76          $713,671.26
02/28/2018                     Integrity Bank                          Bank Service Fee                                           2600-000                                       $957.58           $712,713.68
03/01/2018            (67)     Lisa J. Vanluvanee                      settlement on fraudulent transer                           1241-000          $13,900.00                                     $726,613.68
03/31/2018                     Integrity Bank                          Bank Service Fee                                           2600-000                                      $1,078.74          $725,534.94
04/30/2018                     Integrity Bank                          Bank Service Fee                                           2600-000                                      $1,043.04          $724,491.90
05/21/2018            (66)     Triathlon Acquisitions LLC              Fradulent transfer                                         1241-000           $5,100.00                                     $729,591.90


                                                                                                                                 SUBTOTALS          $65,868.85                  $7,422.88
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                                                                            CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          13-13960                                                                               Trustee Name:                       George Leicht
 Case Name:                        FRENCH MANOR PROPERTIES, LLC                                                           Bank Name:                          Independent Bank
Primary Taxpayer ID #:             **-***9759                                                                             Checking Acct #:                    ******3960
Co-Debtor Taxpayer ID #:                                                                                                  Account Title:
For Period Beginning:              8/21/2013                                                                              Blanket bond (per case limit):      $2,000,000.00
For Period Ending:                 8/5/2021                                                                               Separate bond (if applicable):

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   Transaction       Check /                           Paid to/                    Description of Transaction              Uniform           Deposit        Disbursement                 Balance
      Date            Ref. #                        Received From                                                         Tran Code            $                 $


05/31/2018                     Integrity Bank                               Bank Service Fee                              2600-000                                      $1,078.70          $728,513.20
06/30/2018                     Integrity Bank                               Bank Service Fee                              2600-000                                      $1,047.33          $727,465.87
07/23/2018            (66)     Triathlon Acquisitions, LLC                  payment on fradulent transfer                 1241-000           $3,000.00                                     $730,465.87
07/31/2018                     Integrity Bank                               Bank Service Fee                              2600-000                                      $1,081.68          $729,384.19
08/05/2018                     Independent Bank                             Bank Service Fee                              2600-000                                       $174.77           $729,209.42
08/06/2018                     Independent Bank                             Bank Service Fee                              2600-000                                      ($174.77)          $729,384.19
08/21/2018            (66)     Triathlon Acquisitions, LLC                  payment of fradulent transfer                 1241-000           $1,700.00                                     $731,084.19
08/31/2018                     Independent Bank                             Bank Service Fee                              2600-000                                  $12,793.97             $718,290.22
09/05/2018                     Independent Bank                             Bank Service Fee                              2600-000                                  ($12,793.97)           $731,084.19
09/06/2018                     Independent Bank                             Bank Service Fee                              2600-000                                      $1,086.61          $729,997.58
09/07/2018           3029      John E. Gilbert                              Distribution on Claim                         7100-000                                  $37,348.08             $692,649.50
09/07/2018           3029      VOID: John E. Gilbert                        Void of Check# 3029                           7100-003                                  ($37,348.08)           $729,997.58
09/07/2018           3030      Ed & Karen Wichta                            Distribution on Claim                         7100-000                                      $9,404.25          $720,593.33
09/07/2018           3030      VOID: Ed & Karen Wichta                      Void of Check# 3030                           7100-003                                   ($9,404.25)           $729,997.58
09/07/2018           3031      Michael Fink                                 Distribution on Claim                         7100-000                                      $6,362.28          $723,635.30
09/07/2018           3031      VOID: Michael Fink                           Void of Check# 3031                           7100-003                                   ($6,362.28)           $729,997.58
09/07/2018           3032      M Bruce VanDyke                              Distribution on Claim                         7100-000                                      $6,362.28          $723,635.30
09/07/2018           3032      VOID: M Bruce VanDyke                        Void of Check# 3032                           7100-003                                   ($6,362.28)           $729,997.58
09/07/2018           3033      Bruce R. Blum                                Distribution on Claim                         7100-000                                  $22,760.07             $707,237.51
09/07/2018           3033      VOID: Bruce R. Blum                          Void of Check# 3033                           7100-003                                  ($22,760.07)           $729,997.58
09/07/2018           3034      Teresa Wellington                            Distribution on Claim                         7100-000                                  $18,778.47             $711,219.11
09/07/2018           3034      VOID: Teresa Wellington                      Void of Check# 3034                           7100-003                                  ($18,778.47)           $729,997.58
09/07/2018           3035      Lori Robson c/o Charles Miller, Esq.         Distribution on Claim                         7100-000                                      $6,958.74          $723,038.84
09/07/2018           3035      VOID: Lori Robson c/o Charles Miller, Esq.   Void of Check# 3035                           7100-003                                   ($6,958.74)           $729,997.58
09/07/2018           3036      Robert J. Gilbert                            Distribution on Claim                         7100-000                                  $29,617.41             $700,380.17
09/07/2018           3036      VOID: Robert J. Gilbert                      Void of Check# 3036                           7100-003                                  ($29,617.41)           $729,997.58
09/07/2018           3037      American Express Bank FSB                    Distribution on Claim                         7100-000                                       $158.08           $729,839.50


                                                                                                                         SUBTOTALS            $4,700.00                 $4,452.40
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                                                                            CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          13-13960                                                                             Trustee Name:                       George Leicht
 Case Name:                        FRENCH MANOR PROPERTIES, LLC                                                         Bank Name:                          Independent Bank
Primary Taxpayer ID #:             **-***9759                                                                           Checking Acct #:                    ******3960
Co-Debtor Taxpayer ID #:                                                                                                Account Title:
For Period Beginning:              8/21/2013                                                                            Blanket bond (per case limit):      $2,000,000.00
For Period Ending:                 8/5/2021                                                                             Separate bond (if applicable):

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   Transaction       Check /                            Paid to/                   Description of Transaction            Uniform           Deposit        Disbursement                  Balance
      Date            Ref. #                         Received From                                                      Tran Code            $                 $


09/07/2018           3037      VOID: American Express Bank FSB              Void of Check# 3037                         7100-003                                      ($158.08)           $729,997.58
09/07/2018           3038      Cindy A. Swinney                             Distribution on Claim                       7100-000                                  $35,935.95              $694,061.63
09/07/2018           3038      VOID: Cindy A. Swinney                       Void of Check# 3038                         7100-003                                  ($35,935.95)            $729,997.58
09/07/2018           3039      Joseph P and Sandra Moreland                 Distribution on Claim                       7100-000                                      $2,932.61           $727,064.97
09/07/2018           3039      VOID: Joseph P and Sandra Moreland           Void of Check# 3039                         7100-003                                   ($2,932.61)            $729,997.58
09/07/2018           3040      Dan Kunkemoeller                             Distribution on Claim                       7100-000                                  $37,429.90              $692,567.68
09/07/2018           3040      VOID: Dan Kunkemoeller                       Void of Check# 3040                         7100-003                                  ($37,429.90)            $729,997.58
09/07/2018           3041      Lawrence (Larry) Maglin                      Distribution on Claim                       7100-000                                  $25,564.54              $704,433.04
09/07/2018           3041      VOID: Lawrence (Larry) Maglin                Void of Check# 3041                         7100-003                                  ($25,564.54)            $729,997.58
09/07/2018           3042      Jason McCain                                 Distribution on Claim                       7100-000                                      $2,628.22           $727,369.36
09/07/2018           3042      VOID: Jason McCain                           Void of Check# 3042                         7100-003                                   ($2,628.22)            $729,997.58
09/07/2018           3043      David Englehardt                             Distribution on Claim                       7100-000                                      $1,446.92           $728,550.66
09/07/2018           3043      VOID: David Englehardt                       Void of Check# 3043                         7100-003                                   ($1,446.92)            $729,997.58
09/07/2018           3044      Gregory Gromek                               Distribution on Claim                       7100-000                                      $1,885.72           $728,111.86
09/07/2018           3044      VOID: Gregory Gromek                         Void of Check# 3044                         7100-003                                   ($1,885.72)            $729,997.58
09/07/2018           3045      Stanley L. Blythe                            Distribution on Claim                       7100-000                                  $78,520.49              $651,477.09
09/07/2018           3045      VOID: Stanley L. Blythe                      Void of Check# 3045                         7100-003                                  ($78,520.49)            $729,997.58
09/07/2018           3046      Ohio Department of Job and Family Services   Distribution on Claim                       5800-000                                       $234.23            $729,763.35
09/07/2018           3046      VOID: Ohio Department of Job and Family      Void of Check# 3046                         5800-003                                      ($234.23)           $729,997.58
                               Services
09/07/2018           3047      Ohio Department of Job and Family Services   Distribution on Claim                       7100-000                                         $15.99           $729,981.59
09/07/2018           3047      VOID: Ohio Department of Job and Family      Void of Check# 3047                         7100-003                                        ($15.99)          $729,997.58
                               Services
09/07/2018           3048      Brett Bowman                                 Distribution on Claim                       7100-000                                       $994.10            $729,003.48
09/07/2018           3048      VOID: Brett Bowman                           Void of Check# 3048                         7100-003                                      ($994.10)           $729,997.58
09/07/2018           3049      Gregory H. Richards                          Distribution on Claim                       7100-000                                      $8,142.43           $721,855.15
09/07/2018           3049      VOID: Gregory H. Richards                    Void of Check# 3049                         7100-003                                   ($8,142.43)            $729,997.58
09/07/2018           3050      Shannon Ellis                                Distribution on Claim                       7100-000                                      $2,133.65           $727,863.93
                                                                                                                       SUBTOTALS                 $0.00                $1,975.57
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                                                                            CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          13-13960                                                                             Trustee Name:                       George Leicht
 Case Name:                        FRENCH MANOR PROPERTIES, LLC                                                         Bank Name:                          Independent Bank
Primary Taxpayer ID #:             **-***9759                                                                           Checking Acct #:                    ******3960
Co-Debtor Taxpayer ID #:                                                                                                Account Title:
For Period Beginning:              8/21/2013                                                                            Blanket bond (per case limit):      $2,000,000.00
For Period Ending:                 8/5/2021                                                                             Separate bond (if applicable):

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   Transaction       Check /                            Paid to/                   Description of Transaction            Uniform           Deposit        Disbursement                 Balance
      Date            Ref. #                         Received From                                                      Tran Code            $                 $


09/07/2018           3050      VOID: Shannon Ellis                          Void of Check# 3050                         7100-003                                   ($2,133.65)           $729,997.58
09/07/2018           3051      Brian Blythe                                 Distribution on Claim                       7100-000                                  $34,460.60             $695,536.98
09/07/2018           3051      VOID: Brian Blythe                           Void of Check# 3051                         7100-003                                  ($34,460.60)           $729,997.58
09/07/2018           3052      Michael Blythe                               Distribution on Claim                       7100-000                                      $1,966.03          $728,031.55
09/07/2018           3052      VOID: Michael Blythe                         Void of Check# 3052                         7100-003                                   ($1,966.03)           $729,997.58
09/07/2018           3053      Sharmini Shanker                             Distribution on Claim                       7100-000                                  $28,839.03             $701,158.55
09/07/2018           3053      VOID: Sharmini Shanker                       Void of Check# 3053                         7100-003                                  ($28,839.03)           $729,997.58
09/07/2018           3054      Donald Keyes                                 Distribution on Claim                       7100-000                                      $5,354.16          $724,643.42
09/07/2018           3055      John E. Gilbert                              Distribution on Claim                       7100-000                                  $37,348.08             $687,295.34
09/07/2018           3056      Ed & Karen Wichta                            Distribution on Claim                       7100-000                                      $9,404.25          $677,891.09
09/07/2018           3057      Michael Fink                                 Distribution on Claim                       7100-000                                      $6,362.28          $671,528.81
09/07/2018           3058      M Bruce VanDyke                              Distribution on Claim                       7100-000                                      $6,362.28          $665,166.53
09/07/2018           3059      Bruce R. Blum                                Distribution on Claim                       7100-000                                  $22,760.07             $642,406.46
09/07/2018           3060      Teresa Wellington                            Distribution on Claim                       7100-000                                  $18,778.47             $623,627.99
09/07/2018           3061      Lori Robson c/o Charles Miller, Esq.         Distribution on Claim                       7100-000                                      $6,958.74          $616,669.25
09/07/2018           3062      Robert J. Gilbert                            Distribution on Claim                       7100-000                                  $29,617.41             $587,051.84
09/07/2018           3063      American Express Bank FSB                    Distribution on Claim                       7100-000                                       $158.08           $586,893.76
09/07/2018           3064      Cindy A. Swinney                             Distribution on Claim                       7100-000                                  $35,935.95             $550,957.81
09/07/2018           3065      Joseph P and Sandra Moreland                 Distribution on Claim                       7100-000                                      $2,932.61          $548,025.20
09/07/2018           3066      Dan Kunkemoeller                             Distribution on Claim                       7100-000                                  $37,429.90             $510,595.30
09/07/2018           3067      Lawrence (Larry) Maglin                      Distribution on Claim                       7100-000                                  $25,564.54             $485,030.76
09/07/2018           3068      Jason McCain                                 Distribution on Claim                       7100-000                                      $2,628.22          $482,402.54
09/07/2018           3069      David Englehardt                             Distribution on Claim                       7100-000                                      $1,446.92          $480,955.62
09/07/2018           3070      Gregory Gromek                               Distribution on Claim                       7100-000                                      $1,885.72          $479,069.90
09/07/2018           3071      Stanley L. Blythe                            Distribution on Claim                       7100-000                                  $78,520.49             $400,549.41
09/07/2018           3072      Ohio Department of Job and Family Services   Distribution on Claim                       5800-000                                       $234.23           $400,315.18
09/07/2018           3073      Ohio Department of Job and Family Services   Distribution on Claim                       7100-000                                        $15.99           $400,299.19


                                                                                                                       SUBTOTALS                 $0.00        $327,564.74
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                                                                       CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          13-13960                                                                                 Trustee Name:                        George Leicht
 Case Name:                        FRENCH MANOR PROPERTIES, LLC                                                             Bank Name:                           Independent Bank
Primary Taxpayer ID #:             **-***9759                                                                               Checking Acct #:                     ******3960
Co-Debtor Taxpayer ID #:                                                                                                    Account Title:
For Period Beginning:              8/21/2013                                                                                Blanket bond (per case limit):       $2,000,000.00
For Period Ending:                 8/5/2021                                                                                 Separate bond (if applicable):

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   Transaction       Check /                              Paid to/             Description of Transaction                    Uniform           Deposit         Disbursement                 Balance
      Date            Ref. #                           Received From                                                        Tran Code            $                  $


09/07/2018           3074      Brett Bowman                            Distribution on Claim                                 7100-000                                       $994.10           $399,305.09
09/07/2018           3075      Gregory H. Richards                     Distribution on Claim                                 7100-000                                      $8,142.43          $391,162.66
09/07/2018           3076      Shannon Ellis                           Distribution on Claim                                 7100-000                                      $2,133.65          $389,029.01
09/07/2018           3077      Brian Blythe                            Distribution on Claim                                 7100-000                                  $34,460.60             $354,568.41
09/07/2018           3078      Michael Blythe                          Distribution on Claim                                 7100-000                                      $1,966.03          $352,602.38
09/07/2018           3079      Sharmini Shanker                        Distribution on Claim                                 7100-000                                  $28,839.03             $323,763.35
10/05/2018            (66)     Triathlon Acquisistions LLC             partial payment                                       1241-000           $1,200.00                                     $324,963.35
11/01/2018           3078      STOP PAYMENT: Michael Blythe            Stop Payment for Check# 3078                          7100-004                                  ($1,966.03)            $326,929.38
11/01/2018           3080      Michael Blythe                          Distribution on Claim                                 7100-000                                      $1,966.03          $324,963.35
11/06/2018            (66)     Triathlon Acquisitions LLC              payment                                               1241-000           $2,000.00                                     $326,963.35
12/05/2018            (66)     Triathlon Acquisitions, LLC             fradulent transfer                                    1241-000           $1,200.00                                     $328,163.35
12/19/2018           3081      Insurance Partners Agency, Inc.         Bond Allocation                                       2300-000                                       $355.05           $327,808.30
01/02/2019            (66)     Triathlon Acquistions LLC               fradulent transfer                                    1241-000           $1,500.00                                     $329,308.30
01/29/2019            (66)     Triathlon Acquistions                   Fradulent Transfer                                    1241-000           $1,280.00                                     $330,588.30
11/12/2019           3082      Insurance Partners Agency, Inc.         Bond Payment                                          2300-000                                       $119.31           $330,468.99
02/07/2020            (68)     Statman Harris & Eyrich LLC             partial settlement of fradulent transfer to Global    1241-000          $52,500.00                                     $382,968.99
                                                                       Consolidated Holding
03/03/2020            (68)     Statman Harris & Eyrich                 settlement                                            1241-000           $5,000.00                                     $387,968.99
04/23/2020            (68)     Statman, Harris & Eyrich LLC            recovery of fradulent transfer                        1241-000           $2,500.00                                     $390,468.99
05/14/2020            (68)     Statman Harris & Eyrich LLC             preference payment per agreed order                   1241-000           $2,500.00                                     $392,968.99
06/16/2020            (68)     Statman, Haris & Eyrich LLC             Recovery of fradulent transfer                        1241-000           $2,500.00                                     $395,468.99
07/17/2020            (68)     Statman Harris & eyrich LLC             recovery of fradulent transferr                       1241-000           $2,500.00                                     $397,968.99
08/14/2020            (68)     Statman Harris & Eyrich LLC             Recovery of fradulent transfer                        1241-000           $2,500.00                                     $400,468.99
08/31/2020                     Independent Bank                        Account Analysis Charge                               2600-000                                       $582.57           $399,886.42
09/03/2020            (69)     Dinsmore & Shohl LLP                    Recovery of Fradulent Transfer                        1241-000          $20,000.00                                     $419,886.42
09/15/2020            (68)     Statman Harris & Eyrich LLC             Recovery of Fradulent Transfer                        1241-000           $2,500.00                                     $422,386.42
09/15/2020           3083      John E. Gilbert                         Second Interim Distribution on Claim                  7100-000                                  $27,284.50             $395,101.92


                                                                                                                            SUBTOTALS          $99,680.00          $104,877.27
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                                                                            CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          13-13960                                                                              Trustee Name:                       George Leicht
 Case Name:                        FRENCH MANOR PROPERTIES, LLC                                                          Bank Name:                          Independent Bank
Primary Taxpayer ID #:             **-***9759                                                                            Checking Acct #:                    ******3960
Co-Debtor Taxpayer ID #:                                                                                                 Account Title:
For Period Beginning:              8/21/2013                                                                             Blanket bond (per case limit):      $2,000,000.00
For Period Ending:                 8/5/2021                                                                              Separate bond (if applicable):

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   Transaction       Check /                            Paid to/                    Description of Transaction            Uniform           Deposit        Disbursement                 Balance
      Date            Ref. #                         Received From                                                       Tran Code            $                 $


09/15/2020           3084      Ed & Karen Wichta                            Second Interim Distribution on Claim         7100-000                                      $6,870.23          $388,231.69
09/15/2020           3085      Michael Fink                                 Second Interim Distribution on Claim         7100-000                                      $4,647.93          $383,583.76
09/15/2020           3086      M Bruce VanDyke                              Second Interim Distribution on Claim         7100-000                                      $4,647.94          $378,935.82
09/15/2020           3087      Bruce R. Blum                                Second Interim Distribution on Claim         7100-000                                  $16,627.28             $362,308.54
09/15/2020           3088      Teresa Wellington                            Second Interim Distribution on Claim         7100-000                                  $13,718.54             $348,590.00
09/15/2020           3089      Lori Robson c/o Charles Miller, Esq.         Second Interim Distribution on Claim         7100-000                                      $5,083.69          $343,506.31
09/15/2020           3090      Robert J. Gilbert                            Second Interim Distribution on Claim         7100-000                                  $21,636.89             $321,869.42
09/15/2020           3091      American Express Bank FSB                    Second Interim Distribution on Claim         7100-000                                       $115.48           $321,753.94
09/15/2020           3092      Cindy A. Swinney                             Second Interim Distribution on Claim         7100-000                                  $26,252.87             $295,501.07
09/15/2020           3093      Joseph P and Sandra Moreland                 Second Interim Distribution on Claim         7100-000                                      $2,142.41          $293,358.66
09/15/2020           3094      Dan Kunkemoeller                             Second Interim Distribution on Claim         7100-000                                  $27,344.26             $266,014.40
09/15/2020           3095      Lawrence (Larry) Maglin                      Second Interim Distribution on Claim         7100-000                                  $18,676.08             $247,338.32
09/15/2020           3096      Jason McCain                                 Second Interim Distribution on Claim         7100-000                                      $1,920.03          $245,418.29
09/15/2020           3097      David Englehardt                             Second Interim Distribution on Claim         7100-000                                      $1,057.05          $244,361.24
09/15/2020           3098      Gregory Gromek                               Second Interim Distribution on Claim         7100-000                                      $1,377.61          $242,983.63
09/15/2020           3099      Stanley L. Blythe                            Second Interim Distribution on Claim         7100-000                                  $57,362.84             $185,620.79
09/15/2020           3100      Ohio Department of Job and Family Services   Second Interim Distribution on Claim         7100-000                                        $11.68           $185,609.11
09/15/2020           3101      Brett Bowman                                 Second Interim Distribution on Claim         7100-000                                       $726.25           $184,882.86
09/15/2020           3102      Gregory H. Richards                          Second Interim Distribution on Claim         7100-000                                      $5,948.42          $178,934.44
09/15/2020           3103      Shannon Ellis                                Second Interim Distribution on Claim         7100-000                                      $1,558.73          $177,375.71
09/15/2020           3104      Brian Blythe                                 Second Interim Distribution on Claim         7100-000                                  $25,175.06             $152,200.65
09/15/2020           3105      Michael Blythe                               Second Interim Distribution on Claim         7100-000                                      $1,436.27          $150,764.38
09/15/2020           3106      Sharmini Shanker                             Second Interim Distribution on Claim         7100-000                                  $21,068.24             $129,696.14
09/15/2020           3107      Donald Keyes                                 Second Interim Distribution on Claim         7100-000                                      $3,911.46          $125,784.68
09/30/2020                     Independent Bank                             Account Analysis Charge                      2600-000                                       $509.57           $125,275.11
10/10/2020            (68)     Statman Harris & Eyrich LLC                  recovery of fradulent transfer               1241-000           $2,500.00                                     $127,775.11
10/28/2020           3108      George Leicht                                Trustee Attorney Fees                        3110-000                                  $68,874.00              $58,901.11


                                                                                                                        SUBTOTALS            $2,500.00         $338,700.81
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                                                                      CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          13-13960                                                                                     Trustee Name:                       George Leicht
 Case Name:                        FRENCH MANOR PROPERTIES, LLC                                                                 Bank Name:                          Independent Bank
Primary Taxpayer ID #:             **-***9759                                                                                   Checking Acct #:                    ******3960
Co-Debtor Taxpayer ID #:                                                                                                        Account Title:
For Period Beginning:              8/21/2013                                                                                    Blanket bond (per case limit):      $2,000,000.00
For Period Ending:                 8/5/2021                                                                                     Separate bond (if applicable):

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   Transaction       Check /                           Paid to/               Description of Transaction                         Uniform           Deposit        Disbursement               Balance
      Date            Ref. #                        Received From                                                               Tran Code            $                 $


10/30/2020                     Independent Bank                       Account Analysis Charge                                    2600-000                                    $188.18            $58,712.93
11/10/2020           3109      Insurance Partners Agency, Inc.        Bond Payment                                               2300-000                                     $44.02            $58,668.91
11/13/2020            (68)     Statman Harris & Eyrich LLC            recovery of fradulent transfer                             1241-000          $2,500.00                                    $61,168.91
11/23/2020           3108      VOID: George Leicht                    Void of Check# 3108                                        3110-003                              ($68,874.00)            $130,042.91
11/23/2020            3110     George Leicht                          Trustee Attorney Fees                                      3110-000                                  $68,874.00           $61,168.91
11/30/2020                     Independent Bank                       Account Analysis Charge                                    2600-000                                    $169.91            $60,999.00
12/11/2020            3111     Tibble and Wesler CPA                  Document No. 462 Order approving Compensation              3410-000                                    $831.25            $60,167.75
12/13/2020            (68)     Statman Harris & Eyrich LLC            recovery of fradulent transfer                             1241-000          $2,500.00                                    $62,667.75
12/31/2020                     Independent Bank                       Account Analysis Charge                                    2600-000                                     $90.65            $62,577.10
01/29/2021                     Independent Bank                       Account Analysis Charge                                    2600-000                                     $91.25            $62,485.85
02/09/2021                     Independent Bank                       Bank Fee Reversal                                          2600-000                                    ($91.25)           $62,577.10
04/14/2021            3112     George Leicht                          Trustee Compensation                                       2100-000                                  $49,181.40           $13,395.70
04/14/2021            3113     George Leicht, trustee                 Trustee Expenses                                           2200-000                                   $4,338.60               $9,057.10
04/14/2021            3114     John E. Gilbert                        Distribution on Claim                                      7100-000                                    $833.16                $8,223.94
04/14/2021            3115     Ed & Karen Wichta                      Distribution on Claim                                      7100-000                                    $209.79                $8,014.15
04/14/2021            3116     Michael Fink                           Distribution on Claim                                      7100-000                                    $141.95                $7,872.20
04/14/2021            3117     M Bruce VanDyke                        Distribution on Claim                                      7100-000                                    $141.94                $7,730.26
04/14/2021            3118     Bruce R. Blum                          Distribution on Claim                                      7100-000                                    $507.73                $7,222.53
04/14/2021            3119     Teresa Wellington                      Distribution on Claim                                      7100-000                                    $418.91                $6,803.62
04/14/2021           3120      Lori Robson c/o Charles Miller, Esq.   Distribution on Claim                                      7100-000                                    $155.24                $6,648.38
04/14/2021           3121      Robert J. Gilbert                      Distribution on Claim                                      7100-000                                    $660.71                $5,987.67
04/14/2021           3122      Clerk, US Bankruptcy Court             Small Dividends                                               *                                          $3.89                $5,983.78
                                                                      Claim Amount                                    $(3.53)    7100-001                                                           $5,983.78
                                                                      Claim Amount                                    $(0.36)    7100-001                                                           $5,983.78
04/14/2021           3123      Cindy A. Swinney                       Distribution on Claim                                      7100-000                                    $801.67                $5,182.11
04/14/2021           3124      Joseph P and Sandra Moreland           Distribution on Claim                                      7100-000                                     $65.42                $5,116.69
04/14/2021           3125      Dan Kunkemoeller                       Distribution on Claim                                      7100-000                                    $834.99                $4,281.70
04/14/2021           3126      Lawrence (Larry) Maglin                Distribution on Claim                                      7100-000                                    $570.29                $3,711.41
                                                                                                                                SUBTOTALS           $5,000.00          $60,189.70
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                                                                       CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          13-13960                                                                              Trustee Name:                       George Leicht
 Case Name:                        FRENCH MANOR PROPERTIES, LLC                                                          Bank Name:                          Independent Bank
Primary Taxpayer ID #:             **-***9759                                                                            Checking Acct #:                    ******3960
Co-Debtor Taxpayer ID #:                                                                                                 Account Title:
For Period Beginning:              8/21/2013                                                                             Blanket bond (per case limit):      $2,000,000.00
For Period Ending:                 8/5/2021                                                                              Separate bond (if applicable):

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   Transaction       Check /                            Paid to/              Description of Transaction                  Uniform           Deposit        Disbursement               Balance
      Date            Ref. #                         Received From                                                       Tran Code            $                 $


04/14/2021           3127      Jason McCain                            Distribution on Claim                              7100-000                                    $58.63                 $3,652.78
04/14/2021           3128      David Englehardt                        Distribution on Claim                              7100-000                                    $32.27                 $3,620.51
04/14/2021           3129      Gregory Gromek                          Distribution on Claim                              7100-000                                    $42.06                 $3,578.45
04/14/2021           3130      Stanley L. Blythe                       Distribution on Claim                              7100-000                                  $1,751.65                $1,826.80
04/14/2021           3131      Brett Bowman                            Distribution on Claim                              7100-000                                    $22.17                 $1,804.63
04/14/2021           3132      Gregory H. Richards                     Distribution on Claim                              7100-000                                   $181.64                 $1,622.99
04/14/2021           3133      Shannon Ellis                           Distribution on Claim                              7100-000                                    $47.60                 $1,575.39
04/14/2021           3134      Brian Blythe                            Distribution on Claim                              7100-000                                   $768.75                  $806.64
04/14/2021           3135      Michael Blythe                          Distribution on Claim                              7100-000                                    $43.86                  $762.78
04/14/2021           3136      Sharmini Shanker                        Distribution on Claim                              7100-000                                   $643.34                  $119.44
04/14/2021           3137      Donald Keyes                            Distribution on Claim                              7100-000                                   $119.44                    $0.00
07/13/2021           3120      STOP PAYMENT: Lori Robson c/o Charles   Stop Payment for Check# 3120                       7100-004                                  ($155.24)                 $155.24
                               Miller, Esq.
07/13/2021           3135      STOP PAYMENT: Michael Blythe            Stop Payment for Check# 3135                       7100-004                                    ($43.86)                $199.10
07/13/2021           3137      STOP PAYMENT: Donald Keyes              Stop Payment for Check# 3137                       7100-004                                  ($119.44)                 $318.54
07/13/2021           3138      Clerk, US Bankruptcy Court              Unclaimed Funds                                       *                                       $318.54                    $0.00
                                                                       Claim Amount                          $(155.24)    7100-001                                                              $0.00
                                                                       Claim Amount                           $(43.86)    7100-001                                                              $0.00
                                                                       Claim Amount                          $(119.44)    7100-001                                                              $0.00




                                                                                                                         SUBTOTALS                $0.00             $3,711.41
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                                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                          13-13960                                                                                       Trustee Name:                         George Leicht
Case Name:                        FRENCH MANOR PROPERTIES, LLC                                                                   Bank Name:                            Independent Bank
Primary Taxpayer ID #:            **-***9759                                                                                     Checking Acct #:                      ******3960
Co-Debtor Taxpayer ID #:                                                                                                         Account Title:
For Period Beginning:             8/21/2013                                                                                      Blanket bond (per case limit):        $2,000,000.00
For Period Ending:                8/5/2021                                                                                       Separate bond (if applicable):

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  Transaction        Check /                          Paid to/            Description of Transaction                              Uniform           Deposit          Disbursement              Balance
     Date             Ref. #                       Received From                                                                 Tran Code            $                   $


                                                                                    TOTALS:                                                         $918,627.91           $918,627.91                    $0.00
                                                                                        Less: Bank transfers/CDs                                          $0.00                 $0.00
                                                                                    Subtotal                                                        $918,627.91           $918,627.91
                                                                                        Less: Payments to debtors                                         $0.00                 $0.00
                                                                                    Net                                                             $918,627.91           $918,627.91



                     For the period of 8/21/2013 to 8/5/2021                                                  For the entire history of the account between 09/29/2015 to 8/5/2021

                     Total Compensable Receipts:                   $918,627.91                                Total Compensable Receipts:                               $918,627.91
                     Total Non-Compensable Receipts:                     $0.00                                Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                 $918,627.91                                Total Comp/Non Comp Receipts:                             $918,627.91
                     Total Internal/Transfer Receipts:                   $0.00                                Total Internal/Transfer Receipts:                               $0.00


                     Total Compensable Disbursements:              $918,627.91                                Total Compensable Disbursements:                          $918,627.91
                     Total Non-Compensable Disbursements:                $0.00                                Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:            $918,627.91                                Total Comp/Non Comp Disbursements:                        $918,627.91
                     Total Internal/Transfer Disbursements:              $0.00                                Total Internal/Transfer Disbursements:                          $0.00
                                           Case 1:13-bk-13960     Doc 471          FiledFORM
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                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                         13-13960                                                                                    Trustee Name:                         George Leicht
Case Name:                       FRENCH MANOR PROPERTIES, LLC                                                                Bank Name:                            Independent Bank
Primary Taxpayer ID #:           **-***9759                                                                                  Checking Acct #:                      ******3960
Co-Debtor Taxpayer ID #:                                                                                                     Account Title:
For Period Beginning:            8/21/2013                                                                                   Blanket bond (per case limit):        $2,000,000.00
For Period Ending:               8/5/2021                                                                                    Separate bond (if applicable):

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  Transaction        Check /                         Paid to/            Description of Transaction                           Uniform           Deposit          Disbursement              Balance
     Date             Ref. #                      Received From                                                              Tran Code            $                   $




                                                                                                                                                                            NET              ACCOUNT
                                                                                   TOTAL - ALL ACCOUNTS                               NET DEPOSITS                     DISBURSE             BALANCES

                                                                                                                                              $918,627.91           $918,627.91                      $0.00




                     For the period of 8/21/2013 to 8/5/2021                                              For the entire history of the case between 08/21/2013 to 8/5/2021

                     Total Compensable Receipts:                  $918,627.91                             Total Compensable Receipts:                               $918,627.91
                     Total Non-Compensable Receipts:                    $0.00                             Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                $918,627.91                             Total Comp/Non Comp Receipts:                             $918,627.91
                     Total Internal/Transfer Receipts:                  $0.00                             Total Internal/Transfer Receipts:                               $0.00


                     Total Compensable Disbursements:             $918,627.91                             Total Compensable Disbursements:                          $918,627.91
                     Total Non-Compensable Disbursements:               $0.00                             Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:           $918,627.91                             Total Comp/Non Comp Disbursements:                        $918,627.91
                     Total Internal/Transfer Disbursements:             $0.00                             Total Internal/Transfer Disbursements:                          $0.00




                                                                                                                          /s/ GEORGE LEICHT
                                                                                                                          GEORGE LEICHT
